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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
            v.                            )                    Case No. 21-cr-411-1 (APM)
                                          )
STEWART PARKS,                            )
                                          )
      Defendant.                          )
_________________________________________ )

                                              ORDER

                                                  I.

       Following a bench trial, the court found Defendant Stewart Parks guilty of five offenses:

(1) Entering and Remaining in a Restricted Building or Grounds under 18 U.S.C. § 1752(a)(1)

(Count One); (2) Disorderly and Disruptive Conduct in a Restricted Building or Grounds under

18 U.S.C. § 1752(a)(2) (Count Two); (3) Disorderly Conduct in a Capitol Building under

40 U.S.C. § 5104(e)(2)(D) (Count Three); (4) Parading, Demonstrating, or Picketing in a Capitol

Building under 40 U.S.C. § 5104(e)(2)(G) (Count Four); and (5) Theft of Government Property

(misdemeanor) under 18 U.S.C. § 641 (Count Five). Judgment, ECF No. 105.

       The court determined that Defendant’s guidelines range was 8 to 14 months, and imposed

a total sentence of eight months of incarceration. Sentencing Tr. (draft), Nov. 15, 2023 [hereinafter

Sentencing Tr.], at 37. Defendant is scheduled to report to the Bureau of Prisons to start his

sentence on February 6, 2024. He now seeks release pending appeal. Def.’s Mot. for Release

Pending Appeal, ECF No. 111 [hereafter Def.’s Mot.].

                                                  II.

       Under 18 U.S.C. § 3143(b)(1), a court “shall order the release” of an individual pending

appeal if it finds: “(A) by clear and convincing evidence that the person is not likely to flee or pose
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a danger to the safety of any other person or the community if released”; and “(B) that the appeal

is not for the purpose of delay and raises a substantial question of law or fact likely to result in,”

as relevant here, “(iii) a sentence that does not include a term of imprisonment, or (iv) a reduced

sentence to a term of imprisonment less than the total of the time already served plus the expected

duration of the appeal process.”

         For present purposes, the court assumes that Defendant is neither a flight risk nor a danger

to himself or the community, and that he has raised a substantial question of law—namely, whether

his convictions on Counts One and Two under 18 U.S.C. § 1752(a) must be vacated because the

government failed to show that he knew that the Vice President was at the U.S. Capitol when he

entered and remained in the grounds or building. 1 Still, Defendant cannot prevail. He has not

shown that a favorable decision on appeal would result in “a sentence that does not include a term

of imprisonment” or “a reduced sentence to a term of imprisonment less than the total of the time

already served plus the expected duration of the appeal process.” 18 U.S.C. § 3143(b)(1).

                                                         A.

         Defendant acknowledges that the court sentenced him to the statutory maximum of six

months on Counts Three and Four. Def.’s Reply in Supp. of Def.’s Mot., ECF No. 113 [hereinafter

Def.’s Reply], at 9 (referencing the “petty offenses”). Yet, he contends that at a resentencing, the

court likely would impose a non-custodial sentence or only a short period of imprisonment,

because the court has imposed similar sentences for January 6 defendants convicted of only petty




1
  The court is highly skeptical that this issue would be reviewed for anything other than plain error. See Def.’s Mot.
at 2 n.1. Defendant elected to proceed by bench trial. Because he never raised this issue before or during trial, the
court had no reason to make the evidentiary finding that Defendant now claims is essential to sustain his convictions
for Counts One and Two.

                                                          2
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offenses. Id. at 9 & n.3. 2 But Defendant fails to appreciate that he is quite differently situated than

the others he references.

        Those defendants entered guilty pleas and accepted responsibility; Defendant did not.

Those defendants did not repeatedly lie on the witness stand; Defendant did so. Sentencing Tr. at

29–34; see also Verdict Tr. (draft), May 3, 2023, at 473 (the court stating that Defendant “[spun]

a tale that has no foundation in fact and that is an affront to the police officers that were there that

day and to the democracy itself”); Sentencing Tr. at 71 (describing Defendant’s testimony as “a

tale that absolutely was fantastic”). And none of those defendants (to the court’s knowledge) has

publicly spread falsehoods about January 6, Sentencing Tr. at 72–73, or disparaged the criminal

justice process; Defendant continues to do both, Gov’t Opp’n to Def.’s Mot., ECF No. 112, at 9

n.2. 3 For those reasons, when coupled with Defendant’s actions on January 6 and other relevant

sentencing considerations, see 18 U.S.C. § 3553(a)(2)(A), (B), even without the § 1752(a)

convictions, the court would sentence Defendant to the statutory maximum six months on

Counts Three and Four. He thus has not shown that a successful appeal would yield “a sentence

that does not include a term of imprisonment[.]” 18 U.S.C. § 3143(b)(1)(B)(iii).

                                                        B.

        Moreover, the issue that Defendant intends to raise on appeal is likely to be determined

within six-months of his report date. As Defendant notes, the very question he intends to raise is

already before the D.C. Circuit in United States v. Griffin, No. 22-3042 (D.C. Cir.). Griffin was




2
  The court agrees with Defendant that the conviction on Count Five, for misdemeanor theft of government property,
would not drive the court’s calculus at a resentencing. Although the theft offense is a Class A misdemeanor, and
therefore subject to the Guidelines (the resulting range would be 0 to 6 months), the minimal nature of the conduct
supporting the conviction would not warrant a lengthy term of incarceration.
3
  The court could also consider what Defendant has said publicly since his sentencing if he were to be resentenced.
See Pepper v. United States, 562 U.S. 476, 499 (2011) (“[W]e see no general congressional policy . . . to preclude
resentencing courts from considering postsentencing information[.]”).

                                                        3
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argued on December 4, 2023. Defendant predicts that “the D.C. Circuit should issue a decision

relatively soon.” Def.’s Reply at 2.

       If a favorable ruling comes in the near future, Defendant can seek an indicative ruling from

this court and move for a remand for immediate resentencing. See Fed. R. App. P. 12.1. Even if

the timing of the D.C. Circuit’s decision approaches six months, Defendant can again seek release

pending appeal. See United States v. Adams, No. 21-cr-354 (APM), 2024 WL 111802, at *2

(D.D.C. Jan. 10, 2024) (releasing defendant after his term of imprisonment had commenced

because of the Supreme Court’s grant of certiorari in Fischer v. United States, No. 23-5572, 2023

WL 8605748 (U.S. Dec. 13, 2023)). Thus, by starting his sentence on his report date, Defendant

runs little, if any, risk of spending more time in prison than the custodial term he would receive

based only on lawful convictions. He therefore has failed to show that success on appeal would

result in “a reduced sentence to a term of imprisonment less than the total of the time already

served plus the expected duration of the appeal process.” 18 U.S.C. § 3143(b)(1)(B)(iv).

                                               III.

       Accordingly, for the foregoing reasons, Defendant’s Motion for Release Pending Appeal,

ECF No. 111, is denied.




                                                      __________________________
                                                             Amit P. Mehta
Date: February 2, 2024                                United States District Court Judge




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